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Attorneys for Defendant Smith’s Food & Drug Centers, Inc.

            IN THE UNITED STATES DISTRICT COURT IN AND FOR THE STATE OF UTAH

                                       CENTRAL DIVISION


 DEBBIE LOPEZ,                                              ANSWER AND JURY DEMAND

        Plaintiff,

 vs.                                                        Civil No. 2:19-cv-00034-BCW

 SMITH’S FOOD AND DRUG DBA KROGER, a                    Magistrate Judge Brooke C. Wells
 business corporation,

        Defendant.


       Comes now Defendant Smith’s Food and Drug Centers, Inc. (“Defendant”), by and through Stephen

F. Edwards of Morgan, Minnock, Rice & Miner, L.C., and answers Plaintiff’s Complaint as follows:

                                            FIRST DEFENSE

       Defendant answers the numbered paragraphs of Plaintiff’s Complaint as follows:

       1. Denies for lack of information.

       2. Denies as Plaintiff has provided an incorrect name to Defendant Smith’s Food & Drug Centers,
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   Inc.    Admits that Smith’s Food & Drug Centers, Inc., an Ohio Corporation with its principal

   place of business in Cincinnati, Ohio, is a corporation doing business in Salt Lake County, State

   of Utah.

3. Denies for lack of information.

4. Denies for lack of information.

5. Denies for lack of information.

6. Defendant hereby incorporates its responses to paragraphs 1 through 5 as if fully set forth

   herein.

7. Denies for lack of information.

8. Denies for lack of information.

9. Denies for lack of information.

10. Denies.

11. Denies.

12. Defendant hereby incorporates its responses to paragraphs 1 through 11 as if fully set forth

   herein.

13. Paragraph 13 of Plaintiff’s Complaint calls for a legal conclusion and requires no response

   from Defendant.      To the extent a response is necessary, Defendant denies.

14. Denies paragraph 14 and all subparagraphs.

15. Denies.

16. Denies.
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        17. Denies.

        18. Denies.

        19. Denies.

        20. Defendant hereby incorporates its responses to paragraphs 1 through 19 as if fully set forth

            herein.

        21. Denies.

        22. Denies.

        23. Denies paragraph 23 and all subparagraphs.

        24. Denies all allegations contained in the Prayer for Relief.

        25. Denies all allegations included in the Complaint except as otherwise admitted herein.

                                              SECOND DEFENSE

        Plaintiff’s Complaint fails to state a claim against Defendant upon which relief can be granted.

                                               THIRD DEFENSE

       As an affirmative defense, Defendant alleges that Plaintiff was negligent and that such negligence

was the sole proximate cause of Plaintiff’s injuries and damages, if any, and further that such negligence

was equal to or greater than the negligence, if any, of Defendant and by reason thereof Plaintiff has no

claim against Defendant.

                                             FOURTH DEFENSE

        As an affirmative defense, Defendant alleges that pursuant to the Utah Tort Reform Act

Defendant can only be held responsible for the percentage of fault attributable to it, if any.
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                                               FIFTH DEFENSE

        As an affirmative defense, Defendant alleges that to the extent there are third parties who were

responsible for Plaintiff’s injuries and damages, and over whom Defendant exercised no control, such

third parties, pursuant to Rule 9(l) of the Utah Rules of Civil Procedure, should be included on the Special

Verdict for purposes of apportionment of fault.

                                              SIXTH DEFENSE

        As an affirmative defense, Defendant alleges that to the extent Plaintiff has failed to mitigate her

damages, if any, Plaintiff’s recovery should be reduced or barred.

                                             SEVENTH DEFENSE

        As an affirmative defense, Defendant alleges that Defendant is not responsible for any pre-

existing physical, mental, or other medical conditions of Plaintiff and to the extent Plaintiff had pre-

existing physical, mental, or other medical conditions, Defendant is not responsible or liable for the

same.

                                             EIGHTH DEFENSE

        In the event a verdict is recovered against Defendant by Plaintiff, Defendant may be entitled to a

setoff or a credit before entry of judgment to the extent that Plaintiff has been compensated by any

source for which an offset should be allowed pursuant to Utah law.

                                              NINTH DEFENSE

        Defendant hereby reserves the right to amend its Answer to Plaintiff’s Complaint during the

process of discovery in the event such discovery establishes a basis for additional affirmative defenses.
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       WHEREFORE, Defendant prays for judgment in favor of Defendant and against Plaintiff, no cause

of action, and that Defendant recover its costs of Court together with a reasonable attorneys’ fees and

such other and further relief as the Court deems just.

                                           DEMAND FOR JURY TRIAL

       Defendant demands a jury on all causes of action.

       DATED this 15th day of January, 2019.

                                             MORGAN, MINNOCK, RICE & MINER, L.C.

                                               /s/ Stephen F. Edwards
                                             Stephen F. Edwards
                                             Attorneys for Defendant Smith’s Food & Drug Centers Inc.
                                             dba The Kroger Co.
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                                       CERTIFICATE OF SERVICE

      I hereby certify that on this 15th day of January, 2019, I caused a true and correct copy of the

foregoing ANSWER AND JURY DEMAND to be e-filed and sent via email to the following:

      Brian C. Stewart brian@sjatty.com
      SIEGFRIED & JENSEN
      5664 South Green Street
      Murray, Utah 84123
      Attorneys for Plaintiff
                                                       /s/ Krystal Day
                                                    Paralegal
